Case 09-10138-MFW Doc 435-2 Filed 03/05/09 Page 1 of 2

CASE NAME:
CASE NO.:

NORTEL NETWORKS, INC.
09-10138-KG Chapter tl

SIGN-IN-SHEET

COURTROOM LOCATION: 3
DATE:

3/5/09

PLEASE PRINT YOUR NAME OR YOUR APPEARANCE MAY NOT BE CORRECTLY NOTED

NAME LAW FIRM OR COMPANY CLIENT REPRESENTING
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Case 09-10138-MFW Doc 435-2 Filed 03/05/09 Page 2 of 2

Court Conference

Calendar Date: [03/05/2009]
Calendar Time: | 10:00 Am

Telephonic

U.S. Bankruptcy Court-Delaw.
Confirmed Telephonic Appearance Schedule
Honorable Kevin Gross

Courtroom

Inc.

LIVE

Page# lItem# Case Name Case# Proceeding App ID Appearance By Telephone Firm Name Representing
Nortel Networks, 09-10138 Hearing QR James V. Drew See Curtis, Mallet-Prevost, Colt, Mosle LLP Creditor, FlexTronics /
Inc. __ LISTEN ONLY
Nortel Networks, 09-10138 Hearing SP im Martin me Morgan Stanley Interested Party, Morgan
Inc. ies Stanley / LISTEN ONLY
Nortel Networks, 09-10138 Hearing SM Frank N. White ee, Amal, Golden & Gregory, LLP Creditor, Verizon / LIVE
Inc.

Nortel Networks, 09-10138 Hearing QRS Anneliese H.Pak GEMM Ropes & Gray LLP Creditor, Silver Lake
Inc. Capital, et al. / LISTEN
ONLY
Nortel Networks, 09-10138 Hearing SE Daryl Laddin QE Amal, Golden & Gregory, LLP Creditor, Verizon
Inc. Communications, Int. / LIVE
Nortel Networks, 09-10138 Hearing WEED TracyC.McGiley iy Tracy McGilley - Client Debtor, Nortel Network /
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Serenia Taylor

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